     Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 1 of 32 Page ID #:270




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                             CENTRAL DISTRICT OF CALIFORNIA
13                                LOS ANGELES DIVISION
14
       HARVEST ROCK CHURCH, INC., and
15     HARVEST INTERNATIONAL
       MINISTRY, INC., itself and on behalf
16     of its member churches in California,
17                                    Plaintiffs,
                                                     Case No. 2:20-cv-06414
18     v.
19     GAVIN NEWSOM,                                 MEMORANDUM OF LAW IN
       in his official capacity as                   SUPPORT OF PLAINTIFFS’
20     Governor of the State of California,          MOTION FOR TEMPORARY
                                                     RESTRAINING ORDER AND
21                                    Defendant.     PRELIMINARYINJUNCTION
22

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24
     Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 2 of 32 Page ID #:271




 1                                 TABLE OF CONTENTS

 2    TABLE OF CONTENTS………………………………………………………...…………i
 3    TABLE OF AUTHORITIES………………………………………………………………iii
 4
      URGENCIES JUSTIFYING TEMPORARY RESTRAINING ORDER…………………..1
 5
      ARGUMENT……………………………………………………………………...……….2
 6
      I.    PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS OF
 7          THEIR FIRST AMENDMENT FREE EXERCISE CLAIMS………………..…….3
 8
            A.    The Governor’s Encouragement And Public Advocacy For
 9                Protestors, Rioters, And Looters Gathering By The Thousands In
                  Violation Of His Orders While Threatening Criminal Sanctions On
10                Plaintiffs’ Churches For Merely Hosting A Worship Service
                  Violates The First Amendment…………………………………….………...3
11

12          B.    The Governor’s Discriminatory Treatment Between Plaintiffs’
                  Permissible Non-Religious Services And Impermissible
13                Religious Worship Services Violates The FirstAmendment…………………7

14          C.    The Governor’s Orders Must Satisfy Strict Scrutiny Because
                  They Substantially Burden Plaintiffs’ Religious Beliefs And Are
15
                  Neither Neutral Nor Generally Applicable………………………..…………8
16
                  1.    The Orders Substantially Burden Plaintiffs’ Religious
17                      Beliefs…………………………………………………..…………….9

18                2.    The orders fail neutrality and general applicability because
                        prohibited worship is not more dangerous than permitted social
19
                        services at the same church or permitted shopping or working
20                      in “big box” or warehouse stores……………………………...……..10

21                3.    The The orders fail neutrality and general applicability
                        because of the Governor’s selective enforcement……………...…….12
22
            D.    Substantial Precedent Arising From COVID-19 Challenges Holds
23
                  That Worship Prohibitions Like the Governor’s Orders
24                Are Subject to Strict Scrutiny and Cannot Satisfy It …………………..……13

                                               i
     Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 3 of 32 Page ID #:272




 1
                  1.    Roberts, First Pentecostal, and Berean Baptist Demonstrate
 2                      The Constitutional Infirmity Of The Governor’s Orders…………….13

 3                2.    Several Other Cases Have Granted Similar Injunctions
                        Against Prohibitions On Religious Gatherings……………...……….17
 4
             E.   The Governor’s Orders Cannot Satisfy Strict Scrutiny…………..…………19
 5

 6    II.    PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS OF
             THEIR ESTABLISHMENT CLAUSE CLAIMS…………………………...…….21
 7
      III.   PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS OF
 8           THEIR FREE SPEECH CLAIM…………………………………………...……...22
 9
             A.   The Governor’s Orders Are Content-Based Restrictions on
10                Speech…………………………………………………………………..….22

11           B.   The Governor’s Orders Cannot Satisfy Strict Scrutiny……………..………24
12    IV.    PLAINTIFFS HAVE SUFFERED, ARE SUFFERING, AND WILL
             CONTINUE TO SUFFER IRREPARABLE INJURY ABSENT
13
             INJUNCTIVE RELIEF……………………………………………...…………….24
14
      V.     PLAINTIFFS SATISFY THE OTHER REQUIREMENTS FOR
15           INJUNCTIVE RELIEF……………………………………………...…………….24
16    CONCLUSION……………………………………………………………...…………...25
17

18

19

20

21

22

23

24

                                               ii
     Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 4 of 32 Page ID #:273




 1                               TABLE OF AUTHORITIES

 2    CASES
 3
      ACLU of Ill. v. Alvarez, 679 F.3d 583 (7th Cir. 2012)……………………….…………...25
 4
      Ashcroft v. ACLU, 542 U.S. 656 (2004)……………………………………..…………...19
 5
      Berean Baptist Church v. Cooper, No. 4:20-cv-81-D,
 6    2020 WL 2514313 (E.D.N.C. May 16, 2020)……………………………...…………16, 17
 7
      Bruni v. City of Pittsburgh, 824 F.3d 353 (3d Cir. 2016)…………………..…………….20
 8
      Burson v. Freeman, 504 U.S. 191, 200 (1992)……………………………..……………19
 9
      Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah,
10    508 U.S. 520 (1993)………………………………………………………..…..……passim
11
      City of Boerne v. Flores, 521 US. 507 (1997)…………………………….……………...19
12
      Elrod v. Burns, 427 U.S. 347 (1976)……………………………………..………………24
13
      Emp’t Div. v. Smith, 494 U.S. 872 (1990)…………………………………...……………14
14
      Everson v. Bd. of Educ. of Ewing Twp., 330 U.S. 1 (1947)……………...……………..1, 21
15

16    First Baptist Church. v. Kelly, No. 20-1102-JWB,
      2020 WL 1910021 (D. Kan. Apr. 18, 2020)……………………………..………..….17, 18
17
      First Pentecostal Church v. City of Holly Springs, Miss.,
18    959 F.3d 669 (5th Cir. 2020)…………………………………………….………………13
19
      Gillette v. United States, 401 U.S. 437 (1971)………………………..………………16, 21
20
      Gonzales v. O Centro Espirita Beneficente Uniao do Vegetal,
21    546 U.S. 418 (2006)…………………………………………………..………………….19
22    Legend Night Club v. Miller, 637 F.3d 291 (4th Cir. 2011)……………..……………….25
23
      Lund v. Rowan Cnty., 863 F.3d 268 (4th Cir. 2017)………………………………………21
24

                                              iii
     Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 5 of 32 Page ID #:274




      Machesky v. Bizzell, 414 F.2d 283 (5th Cir. 1969)……………………….………………25
 1

 2    Maryville Baptist, 957 F.3d 610 (6th Cir. 2020)………………………….………...…9, 13

 3    McCullen v. Coakley, 134 S. Ct. 2518 (2014)…………………………..………………..19

 4    Network Auto, Inc. v. Adv. Sys. Concepts, Inc.,
      638 F.3d 1137 (9th Cir. 2011)…………………………………………..…………………3
 5

 6    On Fire Christian Ctr., Inc. v. Fischer, No. 3:20-cv-264-JRW,
      2020 WL 1820249 (W.D. Ky. Apr. 11, 2020)……………………………..………...passim
 7
      R.A.V. v. City of St. Paul, 505 U.S. 377 (1992)……………………………..……………22
 8
      Reed v. Town of Gilbert, 135 S. Ct. 2218 (2015)………………………..………………..20
 9

10    Republican Party of Minn. v. White, 536 U.S. 765 (2002)……………..……….………..19

11    Roberts v. Neace, 958 F.3d 409 (6th Cir. 2020)………………………..……………passim
12    Rodriguez v. Wolf, No. 2:20-CV 01274,
      2020 WL 1652541 (C.D. Cal. Feb. 10, 2020)………………………..……………….22, 23
13

14    Sable Commc’ns of Cal., Inc. v. FCC, 492 U.S. 115 (1989)…………….……………….20

15    Schneider v. New Jersey, 308 U.S. 147 (1939)……………………………..…………….24
16    Simon & Schuster, Inc. v. Members of N.Y. State Crime Victims Bd.,
17
      502 U.S. 105 (1991)……………………………………………………………..……….23

18    Sindicato Puertorriqueno de Trabajjadores v. Fortuno,
      699 F.3d 1 (1st Cir. 2012)…………………………………………………….………….24
19
      Soos v. Cuomo, No. 1:20-cv-651 (GLS/DJS),
20    2020 WL 3488742 (N.D.N.Y. June 26, 2020)………………………………..…………5, 6
21
      Sorrell v. IMS Health, Inc., 564 U.S. 552 (2011)…………………………..…………….20
22

23    Spell v. Edwards, 962 F.3d 175 (5th Cir. 2020)…………………………..………….passim
24

                                               iv
     Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 6 of 32 Page ID #:275




      Thomas v. Rev. Bd. of Ind. Emp. Security Div.,
 1
      450 U.S. 707 (1981)……………………………………………….……………………...9
 2
      United States v. Playboy Entm’t Grp., 529 U.S. 803 (2000)……………….……………23
 3
      W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624 (1943)…………………….……….21
 4
      OTHER
 5

 6    11A Charles Alan Wright, Arthur R. Miller, & Mary Kay Kane,
      Federal Practice & Procedure §2948.1 (2d ed. 1995)………………………….……….24
 7

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                                               v
     Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 7 of 32 Page ID #:276




 1                        “Neither a state nor the Federal Government
                     can set up a church. . . . Neither can force nor influence
 2              a person to go to or to remain away from church against his will.”
                   Everson v. Bd. of Educ. of Ewing Twp., 330 U.S. 1, 15 (1947).
 3

 4          MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION
                   FOR TEMPORARY RESTRAINING ORDER
 5                    AND PRELIMINARY INJUNCTION

 6          Plaintiffs,   HARVEST        ROCK         CHURCH,       INC.     and     HARVEST

 7     INTERNATIONAL MINISTRY, INC., itself and on behalf of its member churches in

 8     California, submit this memorandum of law in support of their contemporaneously filed

 9     Motion for Temporary Restraining Order and Preliminary Injunction. Plaintiffs also rely

10     on the factual allegations of their contemporaneously filed Verified Complaint, which is

11     incorporated herein, as their statement of facts in support of their motion. (V. Compl.

12     ¶¶ 40–154.)

13           URGENCIES JUSTIFYING TEMPORARY RESTRAINING ORDER

14          In their Prayer for Relief (V. Compl. 69–73), Plaintiffs seek a temporary restraining
15     order (TRO) and preliminary injunction restraining enforcement against Plaintiffs of the
16     various COVID-19 orders issued by Governor Newsom and other State officials—
17          —Prohibiting gathering for any indoor worship services in over 30 counties in
18     California (including those where many of Plaintiffs’ churches are located) and, in the
19     counties where indoor worship is not totally prohibited, prohibiting gathering for indoor
20     worship with 101 or more individuals, or at over 25% capacity (whichever is lower);
21          —Prohibiting singing or chanting during religious worship in counties where
22     indoor worship remains permissible;
23          —Prohibiting gatherings inside private homes for small-group Bible studies
24     and worship services; and
                                                  1
     Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 8 of 32 Page ID #:277




 1          —Imposing discriminatory and disparate prohibitions on the types of activities that

 2     Plaintiffs may engage in at their own church buildings, as the orders allow Plaintiffs to

 3     feed the hungry, clothe the naked, house the homeless, and provide other material social

 4     services to an unlimited number of individuals with unlimited volunteers in a single

 5     church building, but the orders prohibit Plaintiffs from engaging in a religious

 6     worship service with the same individuals in the same church building, on pain of

 7     criminal penalties. A TRO and preliminary injunction are necessary to protect these

 8     vitally important and constitutionally protected liberties, even in the midst of disease.

 9          Additionally, while the Governor has unilaterally and significantly restricted the

10     number of individuals permitted to “gather” in Plaintiffs’ churches, he has imposed no

11     similar restrictions on the untold thousands of protesters who have gathered all

12     throughout California cities with no threat of criminal sanction, and no social distancing

13     or restrictions whatsoever. And, the Governor explicitly encouraged such large

14     gatherings of protesters while condemning churches for signing hymns in their

15     churches.

16          The treatment being afforded to protesters engaging in mass gatherings (by the

17     thousands) without threat of criminal sanctions, compared with the criminal penalties

18     threatened against Plaintiffs’ churches for gathering together for worship services,

19     singing and chanting, or engaging in other religious activities is a violation of the First

20     Amendment and must be enjoined. Plaintiffs seek emergency relief before this Sunday’s

21     worship services to prevent irreparable injury to their constitutional rights.

22                                           ARGUMENT
23          To obtain a TRO and preliminary injunction, Plaintiffs must show they are likely

24     to succeed on the merits, they will suffer irreparable harm absent injunctive relief, the

                                                    2
     Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 9 of 32 Page ID #:278




 1     balance of the equities tips in their favor, and the public interest favors injunctive relief.

 2     Network Auto, Inc. v. Adv. Sys. Concepts, Inc., 638 F.3d 1137, 1144 (9th Cir. 2011). The

 3     elements for a TRO and preliminary injunction are the same. See Rodriguez v. Wolf, No.

 4     2:20-CV 01274, 2020 WL 1652541, *2 (C.D. Cal. Feb. 10, 2020).

 5     I.   PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR
            FIRST AMENDMENT FREE EXERCISE CLAIMS.
 6
            A.     The Governor’s Encouragement and Public Advocacy for Protesters
 7                 Gathering by the Thousands in Violation of His Orders While
                   Threatening Criminal Sanctions Against Plaintiffs’ Churches for
 8                 Merely Hosting a Worship Service Violates the First Amendment.
 9          As demonstrated in Plaintiffs’ Verified Complaint, Governor Newsom has not only

10     refused to enforce his COVID-19 stay-at-home restrictions upon the thousands of

11     protesters gathering throughout the state without penalty, he has openly encouraged them

12     to do so. (V. Compl. ¶¶ 104–118.) The Governor’s intentional and public preference for

13     the speech and assembly activities of groups flouting every risk the Governor’s orders

14     are ostensibly aimed to curb, while continuing to scorn and even tighten restrictions on

15     the religious exercise and assembly of Plaintiffs and other religious adherents, is simply

16     unconstitutional. And courts are noticing that governments’ open encouragement of

17     protesters’ violating COVID-19 gathering restrictions across the country while

18     simultaneously prohibiting and restricting far smaller and less risky religious worship

19     services violates of the First Amendment.

20          The constitutional incongruity of the Governor’s encouragement of protesters while

21     restricting worshippers was highlighted by Judge Ho’s concurrence in Spell v. Edwards,

22     962 F.3d 175 (5th Cir. 2020), where the court dismissed as moot an appeal arising from

23     a church’s challenge to Louisiana’s stay-at-home orders restricting worship services to

24     10 people. 962 F.3d at 177. Judge Ho first recounted,

                                                     3
 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 10 of 32 Page ID #:279




 1                 At the outset of the pandemic, public officials declared that
                   the only way to prevent the spread of the virus was for everyone
 2                 to stay home and away from each other. They ordered citizens to
                   cease all public activities to the maximum possible extent—even
 3                 the right to assemble to worship or to protest
 4   Id. at 180-81 (Ho., J., concurring). Then, he observed, “But circumstances have changed.

 5   In recent weeks, officials have not only tolerated protests—they have encouraged them .

 6   . . .” Id. at 181.

 7                 For people of faith demoralized by coercive shutdown policies,
                   that raises a question: If officials are now exempting protesters,
 8                 how can they justify continuing to restrict worshippers? The
                   answer is that they can’t. Government does not have carte
 9                 blanche, even in a pandemic, to pick and choose which First
                   Amendment rights are “open” and which remain “closed.”
10

11   Id. (emphasis added).

12         Judge Ho noted, “To survive First Amendment scrutiny, however, those orders

13   must be applied consistently, not selectively. And it is hard to see how that rule is met

14   here [in light] of the recent protests.” Id. at 182. He continued, “It is common knowledge,

15   and easily proved, that protesters do not comply with social distancing requirements. But

16   instead of enforcing the Governor’s orders, officials are encouraging the protests—out

17   of an admirable, if belated, respect for First Amendment rights.” Id. (emphasis added).

18   That is equally true here, where thousands of protesters have gathered without even a

19   hint of social distancing, yet the Governor publicly and unequivocally supported their

20   flagrant violations of his orders. (V. Compl. ¶¶ 104–111). As the Constitution demands:

21   “If protests are exempt from social distancing requirements, then worship must be

22   too.” Id. (emphasis added).

23         Of particular relevance to Plaintiffs’ claims herein, Judge Ho cited a brief filed by

24   the United States in another case against Governor Newsom in observing that

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 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 11 of 32 Page ID #:280




 1   “California’s political leaders have expressed support for such peaceful protests and,

 2   from all appearances, have not required them to adhere to the now-operative 100-person

 3   limit . . . . It could raise First Amendment concerns if California were to hold other

 4   protests to a different standard.” Id. (emphasis added). Indeed, the same principle

 5   Governor Newsom applies to protesters “should apply to people of faith.” Id. (emphasis

 6   added). Much like the Governor here, “support for the protests reflects a commendable

 7   commitment to equality. But public officials cannot devalue people of faith while

 8   elevating certain protesters. That would offend the First Amendment—not to

 9   mention the principle of equality for which the protests stand.” Id. at 183 (emphasis

10   added).

11        As Judge Ho stated, “The point here is that state and local officials gave [protesters]

12   the choice” to ignore the prohibitions on gathering. Id. “Those officials took no action

13   when protesters chose to ignore health experts and violate social distancing rules. And

14   that forbearance has consequences.” Id. (emphasis added).

15              The First Amendment does not allow our leaders to decide which
                rights to honor and which to ignore. In law, as in life, what’s good
16              for the goose is good for the gander. In these troubled times,
                nothing should unify the American people more than the
17              principle that freedom for me, but not for thee, has no place
                under our Constitution.
18

19   Id. (emphasis added).

20        Similarly, as recounted in Soos v. Cuomo, No. 1:20-cv-651 (GLS/DJS), 2020 WL

21   3488742 (N.D.N.Y. June 26, 2020), the Governor of New York and the New York City

22   Mayor openly encouraged protesters gathering in large numbers in New York, 2020 WL

23   3488742, *4–5, while continuing to prohibit in-person religious gatherings. Id. at *5-6.

24   The court issued a preliminary injunction enjoining the enforcement of the “ever

                                                 5
 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 12 of 32 Page ID #:281




 1   changing maximum number of people” for religious worship because the disparate

 2   treatment for protesters as compared to religious congregants in a worship service

 3   violated the First Amendment. Id., at *8 (“[I]t is plain to this court that the broad limits

 4   of that executive latitude have been exceeded.”). The court found that a restriction of

 5   25% capacity for indoor worship services that is not applied to protesters removes the

 6   law from generally applicability and thus mandates strict scrutiny. Id. at *11.

 7        With respect to openly supporting protesters while imposing draconian restrictions

 8   on indoor religious worship services, the court noted that “Mayor de Blasio’s

 9   simultaneous pro-protest/anti-religious gatherings message . . . clearly undermines the

10   legitimacy of the proffered reason for what seems to be a clear exemption, no matter the

11   reason.” Id. at *12. Indeed,

12               Governor Cuomo and Mayor de Blasio could have just as easily
                 discouraged protests, short of condemning their message, in the
13               name of public health and exercised discretion to suspend
                 enforcement for public safety reasons instead of encouraging
14               what they knew was a flagrant disregard of the outdoor limits and
                 social distancing rules. They could have also been silent. But, by
15               acting as they did, Governor Cuomo and Mayor de Blasio
                 sent a clear message that mass protests are deserving of
16               special treatment.
17   Id. at *12 (emphasis added).

18        Because the government in New York treated protesters differently and more

19   favorably than religious gatherings, the court held that such disparate treatment violated

20   the Free Exercise Clause and issued a preliminary injunction. Id. at *13.

21        The same result should obtain here. The Governor’s orders impose disparately

22   onerous prohibitions and numerical restrictions on religious gatherings in churches, and

23   even on in-home Bible studies, worship meetings, and life groups. (V. Compl. ¶¶ 48–58,

24   73, 83–94.) Moreover, the orders purport to dictate the manner in which Plaintiffs may

                                                  6
 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 13 of 32 Page ID #:282




 1       engage in acceptable religious worship by prohibiting singing and chanting where indoor

 2       worship is allowed, and by allowing provision and receipt of approved social services by

 3       unlimited numbers in the same church buildings where religious worship services are

 4       limited numerically or prohibited altogether. (V. Compl. ¶¶ 71–73, 78, 98–103.) And the

 5       Governor has imposed these draconian restrictions on Plaintiffs while openly celebrating

 6       and encouraging mass gatherings for protests. (V. Compl. ¶¶ 104–111.) The Constitution

 7       demands more and so should this Court.

 8            B.     The Governor’s Discriminatory Treatment Between Plaintiffs’
                     Permissible Non-Religious Services and Impermissible Religious
 9                   Worship Services Violates the First Amendment.
10            As demonstrated in the Verified Complaint, the March 19 Stay-at-Home Order1

11       created expansive categories of businesses and activities wholly exempt from the Order’s

12       stay-at-home mandate, subject only to social distancing. (V. Compl. ¶¶ 68–74, 77–78,

13       EXS. C–E, G.) These exempt activities include the provision of “food, shelter, and social

14       services, and other necessities of life for economically disadvantaged or otherwise needy

15       individuals.” (V. Compl. ¶ 99, EX. D at 20, EX. G at 23.) Thus, under the Governor’s

16       orders, Plaintiffs and their churches may provide food for the hungry, shelter for the

17       homeless, unemployment, family, or drug counseling, and any other social services for

18       “necessities of life,” and may do so in their church buildings, without numerical

19       restrictions on volunteers or recipients, subject only to social distancing.

20            But, in counties where Plaintiffs’ campus and member churches are still permitted

21       to gather at all, if they are feeding, clothing, housing, or counseling 101 individuals (or

22       over 25% of their building capacity), and at any point transition from providing material

23
     1
24          Unless otherwise indicated capitalized terms used herein have the same meanings as
     in the Verified Complaint.
                                                  7
 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 14 of 32 Page ID #:283




 1   “necessities of life” through government-approved social services, to providing spiritual

 2   necessities of life—according to sincerely held religious beliefs—through government-

 3   prohibited religious worship services, for the same people, in the same building, the

 4   Governor’s orders automatically apply, and Plaintiffs are subject to criminal penalties.

 5   (V. Compl. ¶¶ 84–92, 101.) And, for each of Plaintiffs’ campus and member churches in

 6   California counties subject to total closure for worship under the July 13 Public Health

 7   Order, they are still exempt for feeding, counseling, and even housing overnight an

 8   unlimited number of materially needy people in the same room, but if a pastor preaches

 9   a sermon for the spiritually needy among them and invites them to participate by singing

10   a hymn, the exempt service becomes a prohibited religious worship service subject to

11   criminal penalties—no matter how many or how few participate in worship. (V. Compl.

12   ¶¶ 94–97.)

13        The Governor’s orders and their classifications of exempt businesses, activities, and

14   services has established a system of disparate treatment between material social services

15   and religious worship services offered in the same building to the same people. This

16   disparate treatment, prohibiting and restricting Plaintiffs’ religious worship services,

17   substantially burdens Plaintiffs’ exercise of religion according to their sincerely held

18   beliefs and violates the First Amendment.

19        C.      The Governor’s Orders Must Satisfy Strict Scrutiny Because They
                  Substantially Burden Plaintiffs’ Religious Exercise and Are Neither
20                Neutral nor Generally Applicable.
21        The Governor’s orders must be subjected to strict scrutiny under the First

22   Amendment because they substantially burden Plaintiffs’ religious exercise and are not

23   neutral or generally applicable, and therefore “must be justified by a compelling

24   governmental interest and must be narrowly tailored to advance that interest.” Church of

                                                 8
 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 15 of 32 Page ID #:284




 1   the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 531–32 (1993) [hereinafter

 2   Lukumi].

 3               1.     The orders substantially burden Plaintiffs’ religious exercise.
 4        Plaintiffs have and exercise sincere beliefs, rooted in Scripture’s commands (e.g.,

 5   Hebrews 10:25), that Christians are not to forsake assembling together, and that they are

 6   to do so even more in times of peril and crisis. (V. Compl. ¶¶ 48–54, 57–58, 65.) “[T]he

 7   Greek work translated church . . . literally means assembly.” On Fire Christian Ctr., Inc.

 8   v. Fischer, No. 3:20-cv-264-JRW, 2020 WL 1820249, at *8 (W.D. Ky. Apr. 11, 2020)

 9   [hereinafter, On Fire] (cleaned up) (emphasis added). And Plaintiffs also have and

10   exercise sincere beliefs that obedience to Scripture requires them to sing as, and in, their

11   worship of God. (V. Compl. ¶¶ 59–64.) Though the Governor might not view church

12   worship services and singing as fundamental to Plaintiffs’ religious exercise—or

13   “Essential” like “big box” and warehouse store shopping, or more important than

14   enforcement of his orders like mass protest gatherings—“religious beliefs need not be

15   acceptable, logical, consistent, or comprehensible to others in order to merit First

16   Amendment protection.” Thomas v. Rev. Bd. of Ind. Emp. Security Div., 450 U.S. 707,

17   714 (1981). The Governor’s orders prohibiting or restricting Plaintiffs’ religious worship

18   services inside their churches, and prohibiting singing and chanting even where limited

19   worship is allowed, on pain of criminal sanctions, unquestionably and substantially

20   burdens Plaintiffs’ exercise of religion according to their sincerely held beliefs. “The

21   Governor’s actions substantially burden the congregants’ sincerely held religious

22   practices—and plainly so. Religion motivates the worship services.” Maryville Baptist

23   Church, Inc. v. Beshear, 957 F.3d 610, 613 (6th Cir. 2020) (emphasis added).

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                                                  9
 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 16 of 32 Page ID #:285




 1               2.     The orders fail neutrality and general applicability because
                        prohibited worship is not more dangerous than permitted social
 2                      services at the same church or permitted shopping or working in
                        “big box” or warehouse stores.
 3
          A law is not neutral “if the object of the law is to infringe upon or restrict practices
 4
     because of their religious motivation.” Lukumi, 508 U.S. at 533. Courts first look to the
 5
     text, but “facial neutrality is not determinative. The Free Exercise Clause . . . extends
 6
     beyond facial discrimination [and] forbids subtle departures from neutrality.” Id. at 533–
 7
     34 (cleaned up). The First Amendment prohibits hostility that is “masked, as well as
 8
     overt.” Id. The Governor’s orders are not facially neutral, but even if so, they covertly or
 9
     subtly depart from neutrality by treating Plaintiffs’ religious gatherings differently from
10
     non-religious gatherings.
11
          The orders fail neutrality and general applicability on facial examination because
12
     they expressly ban (33 counties and counting) or severely restrict the numbers and
13
     conduct at religious worship gatherings (capacity limits and singing prohibition), while
14
     expressly exempting a multitude of business and non-religious activities involving
15
     crowds that are no less risky (e.g., shopping or working at “big box” and warehouse
16
     stores). (V. Compl. ¶¶ 66–97.) Exempted gatherings are permitted subject only to
17
     distancing, but religious worship is prohibited or severely restricted even if distancing
18
     and hygiene guidelines are followed religiously. Moreover, while a church can gather
19
     at its own facility with no numerical limit to provide non-religious, social services
20
     approved by the Governor (e.g., food, shelter, counseling, etc.), his orders prohibit
21
     the same church from conducting a religious worship service in its own facility
22
     under the same conditions, if at all. (V. Compl. ¶¶ 98–103.) “At a minimum, the
23
     protections of the Free Exercise Clause pertain if the law at issue discriminates against
24

                                                 10
 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 17 of 32 Page ID #:286




 1   some or all religious beliefs or regulates or prohibits conduct because it is undertaken

 2   for religious reasons.” Lukumi, 508 U.S. at 532 (emphasis added). Prohibiting

 3   Californians from joining others at a church for religious reasons, such as a worship

 4   service, while permitting them to join others at the same church for non-religious reasons,

 5   such as giving or receiving food, shelter, or counseling, “violat[es] the Free Exercise

 6   Clause beyond all question.” On Fire, 2020 WL 1820249, at *6 (emphasis added).

 7        Nor are the orders generally applicable on their face, for many of the same reasons

 8   they are not neutral. “Neutrality and general applicability are interrelated, and . . . failure

 9   to satisfy one requirement is a likely indication that the other has not been satisfied.”

10   Lukumi, 508 U.S. at 531. To determine general applicability, courts focus on disparate

11   treatment of similar conduct. Lukumi, 508 U.S. at 542. “All laws are selective to some

12   extent, but categories of selection are of paramount concern when a law has the incidental

13   effect of burdening religious practice.” Id. A law is not generally applicable where

14   “inequality results” from the government’s “decid[ing] that the governmental interests it

15   seeks to advance are worthy of being pursued only against conduct with religious

16   motivation.” Id. at 543. Thus, a law “fall[s] well below the minimum standard necessary

17   to protect First Amendment rights” when the government “fail[s] to prohibit

18   nonreligious conduct that endangers these interests in a similar or greater degree”

19   than the prohibited religious conduct. Id. (emphasis added).

20        The Governor is utterly unable to demonstrate the difference in risk of spreading

21   COVID-19, if any, as between a congregant who spends an hour at a socially-distanced

22   worship service with a limited number of people (because of distancing), which is

23   prohibited, and a shopper who spends an hour in a “big box” or warehouse store with

24   unlimited other shoppers, which is allowed—the Governor certainly cannot demonstrate

                                                   11
 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 18 of 32 Page ID #:287




 1   the worship service is riskier. Nor can the Governor demonstrate Plaintiffs’ socially-

 2   distanced worship services, standing in place for an hour or so at a time, once per week

 3   on a Sunday are riskier than any Walmart or Trader Joe’s, working dozens of moving

 4   and stationary employees together for hours at a time, cycling hundreds or thousands of

 5   roving customers through the building, with no shopping time limit—touching carts,

 6   touching shelves, removing items from shelves and replacing them, following and

 7   passing within 6 feet of other customers, giving money to and receiving change from

 8   cashiers, touching point-of-sale machines—all day, 7 days a week. To be sure, dozens,

 9   hundreds, or more employees can work at one time for one “Essential” business—

10   e.g., Amazon warehouses, Home Depots, Wells Fargo processing centers, etc.—in

11   one building, for 8, 10, 12 or more hours at a time, 5, 6, or 7 days a week, subject

12   only to the orders’ social distancing guidance. Neither logic nor common experience

13   allows the conclusion that socially-distanced worship services pose more risk than the

14   myriad “Essential” businesses and activities that are exempt from numerical limit under

15   the orders. To be sure, the Governor’s Worship Guidances all expressly equate the

16   COVID-19 risks at places of worship with the risks at “Essential” businesses and non-

17   religious operations such as “warehouses . . . and grocery stores,” which are exempt from

18   the unique numerical restrictions and other prohibitions imposed on the core activities of

19   places of religious worship. (V. Compl. ¶ 93.)

20               3.    The orders fail neutrality and general applicability because of the
                       Governor’s selective enforcement.
21
          The orders also fail neutrality and general applicability as actually enforced,
22
     because the Governor has not applied the orders neutrally or generally. While Plaintiffs’
23
     churches are threatened with criminal punishment for increasingly restrictive
24

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 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 19 of 32 Page ID #:288




 1   prohibitions on religious gathering, even singing, the Governor openly and publicly

 2   declared a de facto exemption for mass protest gatherings which clearly violate his orders

 3   but nonetheless have his unequivocal support. (V. Compl. ¶¶ 84–97, 104–118.) It is

 4   difficult to imagine a more selective and less neutral application of the Governor’s orders.

 5   See Soos, supra Part I.A; see also Spell, 962 F.3d at 181 (Ho., J., concurring) (“If officials

 6   are now exempting protesters, how can they justify continuing to restrict worshippers?

 7   The answer is that they can’t.”)

 8        D.     Substantial Precedent Arising From COVID-19 Challenges Holds That
                 Worship Prohibitions Like the Governor’s Orders Are Subject to Strict
 9               Scrutiny and Cannot Satisfy It.
10               1.     Roberts, First Pentecostal, and Berean Baptist demonstrate the
                        constitutional infirmity of the Governor’s orders.
11

12        Twice in two weeks the Sixth Circuit Court of Appeals enjoined enforcement of

13   executive orders like the Governor’s orders, determining that restrictions on drive-in and

14   in-person worship services violated the First Amendment. See Roberts v. Neace, 958

15   F.3d 409 (6th Cir. 2020) (in-person worship services); Maryville Baptist Church, Inc. v.

16   Beshear, 957 F.3d 610 (6th Cir. 2020) (holding plaintiffs likely to succeed on merits of

17   First Amendment and Kentucky RFRA claims for both drive-in and in-person services).

18   Also, in First Pentecostal Church v. City of Holly Springs, Miss., 959 F.3d 669 (5th Cir.

19   2020), the Fifth Circuit Court of Appeals granted an injunction pending appeal (IPA) to

20   a Mississippi church, enjoining enforcement of that State’s orders.

21        In Roberts, the Sixth Circuit granted an IPA enjoining the Kentucky Governor from

22   enforcing executive orders prohibiting a church’s in-person worship services when

23   “serial exemptions for secular activities pose comparable public health risks.” 958 F.3d

24   at 414. In determining the plaintiffs’ likely success on the merits of their free exercise

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 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 20 of 32 Page ID #:289




 1   claims, the court recognized, “On one side of the line, a generally applicable law that

 2   incidentally burdens religious practice usually will be upheld.” Id. at 413 (citing Emp’t

 3   Div. v. Smith, 494 U.S. 872, 879–79 (1990)). But, the court concluded the Kentucky

 4   orders “likely fall on the prohibited side of the line,” where “a law that discriminates

 5   against religious practices usually will be invalidated because it is the rare law that can

 6   be ‘justified by a compelling interest and is narrowly tailored to advance that interest.’”

 7   Id. (quoting Lukumi, 508 U.S. at 553).

 8               Do the four pages of exceptions in the orders, and the kinds
                 of group activities allowed, remove them from the safe
 9               harbor for generally applicable laws? We think so. As a rule
                 of thumb, the more exceptions to a prohibition, the less likely it
10               will count as a generally applicable, non-discriminatory law. At
                 some point, an exception-ridden policy takes on the
11               appearance and reality of a system of individualized
                 exemptions, the antithesis of a neutral and generally
12               applicable policy and just the kind of state action that must
                 run the gauntlet of strict scrutiny.
13

14   Id. at 413–14 (cleaned up) (emphasis added).

15        “Assuming all of the same precautions are taken, why can someone safely walk

16   down a grocery store aisle but not a pew? And why can someone safely interact with a

17   brave deliverywoman but not with a stoic minister? The Commonwealth has no good

18   answers.” Id. at 414. Thus, the court rejected the Governor’s suggestion “that the

19   explanation for these groups of people to be in the same area—intentional worship—

20   creates greater risks of contagion than groups of people, say, in an office setting or an

21   airport,” id. at 416, further explaining,

22               the reason a group of people go to one place has nothing to do
                 with it. Risks of contagion turn on social interaction in close
23               quarters; the virus does not care why they are there. So long as
                 that is the case, why do the orders permit people who practice
24               social distancing and good hygiene in one place but not another
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 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 21 of 32 Page ID #:290




                 for similar lengths of time? It’s not as if law firm office meetings
 1               and gatherings at airport terminals always take less time than
                 worship services.
 2

 3   Id.

 4         The Roberts court also rejected the notion that the Governor’s orders were justified

 5   because congregants could simply worship online via Facebook, reasoning,

 6               Who is to say that every member of the congregation has access
                 to the necessary technology to make that work? Or to say that
 7               every member of the congregation must see it as an adequate
                 substitute for what it means when “two or three gather in my
 8               Name,” Matthew 18:20, or what it means when “not forsaking
                 the assembling of ourselves together,” Hebrews 10:25.
 9
                 [T]he Free Exercise Clause does not protect sympathetic
10               religious practices alone. And that’s exactly what the federal
                 courts are not to judge—how individuals comply with their own
11               faith as they see it.
12   Id. at 415 (citation omitted).

13         In awarding the injunction, the Roberts court brought into sharp relief the Kentucky

14   Governor’s disparate treatment of churchgoers under his orders:

15               Keep in mind that the Church and its congregants just want to be
                 treated equally. . . . They are willing to practice social distancing.
16               They are willing to follow any hygiene requirements. . . . The
                 Governor has offered no good reason for refusing to trust the
17               congregants who promise to use care in worship in just the
                 same way it trusts accountants, lawyers, and laundromat
18               workers to do the same.
19               Come to think of it, aren’t the two groups of people often the
                 same people—going to work on one day and going to worship
20               on another? How can the same person be trusted to comply
                 with social-distancing and other health guidelines in secular
21               settings but not be trusted to do the same in religious
                 settings? The distinction defies explanation, or at least the
22               Governor has not provided one.
23   Id. at 414 (emphasis added).

24

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 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 22 of 32 Page ID #:291




 1        A week after the Sixth Circuit’s Roberts decision, the Eastern District of North

 2   Carolina issued a TRO enjoining the North Carolina Governor from enforcing a

 3   10-person limit on religious worship because it violated the Free Exercise Clause. See

 4   Berean Baptist Church v. Cooper, No. 4:20-cv-81-D, 2020 WL 2514313 (E.D.N.C. May

 5   16, 2020) [hereinafter Berean Baptist]. In granting the TRO, the court noted upfront,

 6   “There is no pandemic exception to the Constitution of the United States or the Free

 7   Exercise Clause of the First Amendment.” 2020 WL 2514313, at *1 (emphasis added).

 8   The North Carolina “stay-at-home” orders challenged in Berean Baptist provided

 9   exemptions from their 10-person gathering limits for numerous “Essential Business and

10   Operations.” Id. at *3. But, the North Carolina orders subjected worship services to a 10-

11   person limit that was not imposed on any of the myriad “Essential” businesses and

12   activities. 2020 WL 2514313, at *4. The Berean Baptist court observed that the uniquely

13   restrictive 10-person limit for worship gatherings “represent[s] precisely the sort of

14   ‘subtle departures from neutrality’ that the Free Exercise Clause is designed to prevent.”

15   Id. at *6 (quoting Gillette v. United States, 401 U.S. 437, 452 (1971)).

16        The court observed further,

17               Eleven men and women can stand side by side working indoors
                 Monday through Friday at a hospital, at a plant, or at a package
18               distribution center and be trusted to follow social distancing and
                 hygiene guidance, but those same eleven men and women cannot
19               be trusted to do the same when they worship inside together on
                 Saturday or Sunday. “The distinction defies explanation . . . .”
20

21   Id. at *8 (quoting Roberts, 958 F.3d at 414).

22        Thus, the court concluded, “These glaring inconsistencies between the treatment

23   of religious entities and individuals and non-religious entities and individuals take [the

24   orders] outside the ‘safe harbor for generally applicable laws.’” Id. (quoting Roberts, 958

                                                 16
 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 23 of 32 Page ID #:292




 1   F.3d at 413). Ultimately, in concluding the North Carolina orders could not pass strict

 2   scrutiny, the Berean Baptist court recognized that the plaintiffs “simply want the

 3   Governor to afford them the same treatment as they and their fellow non-religious

 4   citizens receive when they work at a plant, clean an office, ride a bus, shop at a store, or

 5   mourn someone they love at a funeral.” Id. at *9 (citing Lukumi, 508 U.S. at 546 (“The

 6   proffered objectives are not pursued with respect to analogous non-religious conduct,

 7   and those interests could be achieved by narrower ordinances that burdened religion to a

 8   far lesser degree.”)).

 9               2.     Several other courts have granted similar injunctions against
                        prohibitions on religious gatherings.
10

11        In Louisville, Kentucky, the government threatened to use police to impose

12   criminal sanctions on individuals who went to church on Easter in violation of similar

13   COVID-19 orders. The Western District of Kentucky held that the mere threat of such

14   criminal sanctions warranted a TRO. See On Fire, 2020 WL 1820249. The On Fire TRO

15   enjoined the Mayor of Louisville from “enforcing, attempting to enforce, threatening to

16   enforce, or otherwise requiring compliance with any prohibition on drive-in church

17   services at On Fire.” Id. at *1 (emphasis added).

18        The District of Kansas issued a TRO enjoining enforcement of a restriction on

19   religious gatherings of more than 10 people, requiring the state to treat worship services

20   the same as exempted “essential” gatherings. See First Baptist Church. v. Kelly, No. 20-

21   1102-JWB, 2020 WL 1910021, *6–7 (D. Kan. Apr. 18, 2020) [hereinafter First Baptist].

22   The First Baptist TRO specifically stated that the government’s disparate treatment of

23   religious gatherings violated the Free Exercise Clause because it showed “religious

24   activities were specifically targeted for more onerous restrictions than comparable

                                                 17
 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 24 of 32 Page ID #:293




 1   secular activities.” Id. at *7 (emphasis added). The court concluded that restricting

 2   religious gatherings while permitting other non-religious activities “show[s] that these

 3   executive orders expressly target religious gatherings on a broad scale and are, therefore,

 4   not facially neutral.” Id. Indeed, “it goes without saying that the government could not

 5   lawfully expressly prohibit individuals from meeting together for religious

 6   services.” Id. at *6 (emphasis added).

 7        The Eastern District of Kentucky issued a statewide TRO enjoining the Kentucky

 8   Governor from enforcing his prohibition on in-person religious gatherings. See

 9   Tabernacle Baptist Church, Inc. of Nicholasville, Ky. v. Beshear, No. 3:20-cv-00033-

10   GFVT, 2020 WL 2305307, *1, 6 (W.D. Ky. May 8, 2020). The court observed that the

11   First Amendment does not “mean something different because society is desperate for a

12   cure or prescription,” id. at *1, and that “‘even under Jacobson [v. Massachusetts, 197

13   U.S. 11 (1905)], constitutional rights still exist.’” Id. at *4 (quoting On Fire, 2020 WL

14   1820248, *15 (emphasis added)). In fact, “while courts should refrain from second-

15   guessing the efficacy of a state’s chosen protective measures,” a government very well

16   may “‘go so far beyond what was reasonably required for the safety of the public, as to

17   authorize or compel the courts to interfere.’” Tabernacle, 2020 WL 2305307, at *4

18   (quoting Jacobson, 197 U.S. at 28 (emphasis added)).

19               It follows that the prohibition on in-person services should be
                 enjoined . . . . There is ample scientific evidence that COVID-19
20               is exceptionally contagious. But evidence that the risk of
                 contagion is heightened in a religious setting any more than a
21               secular one is lacking. If social distancing is good enough for
                 Home Depot and Kroger, it is good enough for in-person
22               religious services, which, unlike the foregoing, benefit from
                 constitutional protection.
23

24   Tabernacle, 2020 WL 2305307, at *5 (emphasis added).

                                                 18
 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 25 of 32 Page ID #:294




 1        E.     The Governor’s Orders Cannot Satisfy Strict Scrutiny.
 2        Because the Governor’s discriminatory orders trigger strict scrutiny under the First

 3   Amendment (see supra Parts I.C, D), the Governor is subject to “the most demanding

 4   test known to constitutional law,” City of Boerne v. Flores, 521 US. 507, 534 (1997),

 5   which is rarely passed. See Burson v. Freeman, 504 U.S. 191, 200 (1992) (“[W]e readily

 6   acknowledge that a law rarely survives such scrutiny . . . .”). This is not that rare case.

 7        To be sure, efforts to contain the spread of a deadly disease are “compelling

 8   interests of the highest order.” On Fire, 2020 WL 1820249, at *7. But where the

 9   Governor permits tens of thousands of protesters to gather without numerical limitation

10   all across California, the government’s assertions of a compelling interest are

11   substantially diminished. Put simply, the Governor’s orders “cannot be regarded as

12   protecting an interest of the highest order . . . when [they] leave[] appreciable damage

13   to that supposedly vital interest unprohibited.” Republican Party of Minn. v. White,

14   536 U.S. 765, 780 (2002) (emphasis added).

15        Whatever interest the Governor purports to claim, however, he cannot show the

16   orders and their enforcement are narrowly tailored to be the least restrictive means of

17   protecting that interest. And it is the Governor’s burden to make the showing because

18   “the burdens at the preliminary injunction stage track the burdens at trial.” Gonzales v.

19   O Centro Espirita Beneficente Uniao do Vegetal, 546 U.S. 418, 429 (2006). “As the

20   Government bears the burden of proof on the ultimate question of . . . constitutionality,

21   [Plaintiffs] must be deemed likely to prevail unless the Government has shown that

22   [their] proposed less restrictive alternatives are less effective than [the orders].” Ashcroft

23   v. ACLU, 542 U.S. 656, 666 (2004) (emphasis added).

24

                                                  19
 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 26 of 32 Page ID #:295




 1        To meet this burden, the government must show it “seriously undertook to address

 2   the problem with less intrusive tools readily available to it,” meaning that it “considered

 3   different methods that other jurisdictions have found effective.” McCullen v.

 4   Coakley, 134 S. Ct. 2518, 2539 (2014) (emphasis added). And the Governor cannot meet

 5   the burden by showing “simply that the chosen route is easier.” Id. at 2540. Thus, the

 6   Governor “would have to show either that substantially less-restrictive alternatives

 7   were tried and failed, or that the alternatives were closely examined and ruled out

 8   for good reason.” Bruni v. City of Pittsburgh, 824 F.3d 353, 370 (3d Cir. 2016)

 9   (emphasis added). Furthermore, “[i]t is not enough to show that the Government’s ends

10   are compelling; the means must be carefully tailored to achieve those ends.” Sable

11   Commc’ns of Cal., Inc. v. FCC, 492 U.S. 115, 126 (1989). “There must be a fit between

12   the . . . ends and the means chosen to accomplish those ends.” Sorrell v. IMS Health,

13   Inc., 564 U.S. 552, 572 (2011) (cleaned up).

14        The Governor fails this test. The Governor has prohibited and severely restricted

15   Plaintiffs’ and others’ religious worship services, while expansively exempting myriad

16   “Essential” businesses and non-religious activities involving crowds of people, and

17   openly supporting thousands of protesters continually gathering in blatant disregard of

18   his orders. (V. Compl. ¶¶ 68–97, 104–118.) The Governor has not and cannot state why

19   or how crowds and masses of thousands of protesters are any less “dangerous” to public

20   health than a responsibly distanced and sanitized worship service, yet the Governor

21   exempted the protesters and prohibited Plaintiffs’ worship services. As Judge Ho said in

22   his Spell concurrence, the Governor’s decision “has consequences,” 962 F.3d at 183, and

23   the consequence here is that Governor Newsom’s orders fail strict scrutiny and violate

24   the First Amendment. The TRO should issue.

                                                 20
 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 27 of 32 Page ID #:296




 1   II.   PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR
           ESTABLISHMENT CLAUSE CLAIMS.
 2
           “If there is any fixed star in our constitutional constellation, it is that no
 3
     official, high or petty, can prescribe what shall be orthodox in politics, nationalism,
 4
     religion, or other matters of opinion or force citizens to confess by word or act their
 5
     faith therein.” W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943) (emphasis
 6
     added). Where, as here, Plaintiffs seek to be free from disparate treatment by the State,
 7
     the very core of the Establishment Clause is at issue. “An attack founded on disparate
 8
     treatment of “religious” claims invokes what is perhaps the central purpose of the
 9
     Establishment Clause—the purpose of ensuring governmental neutrality in matters
10
     of religion.” Gillette v. United States, 401 U.S. 437, 449 (1971) (emphasis added).
11
     Indeed, the Establishment Clause “affirmatively mandates accommodation, not merely
12
     tolerance, of all religions, and forbids hostility towards any.” Lynch v. Donnelly, 465
13
     U.S. 668, 673 (1984). That mandate of preventing hostility towards religions is equally
14
     present in times of exigent circumstances, such as COVID-19. For, as “[a]n instrument
15
     of social peace, the Establishment Clause does not become less so when social rancor
16
     runs exceptionally high.” Lund v. Rowan Cnty., 863 F.3d 268, 275 (4th Cir. 2017)
17
     (emphasis added). “The ‘establishment of religion’ clause of the First Amendment means
18
     at least this: Neither a state nor the Federal Government can set up a church. . . . Neither
19
     can force nor influence a person to go to or to remain away from church against his
20
     will.” Everson v. Bd. of Educ. of Ewing Twp., 330 U.S. 1, 15 (1947) (emphasis added).
21
           Here, the Governor’s orders have demonstrated official hostility towards religious
22
     worship by completely prohibiting it in 33 counties (and counting) and banning the core
23
     religious practices of singing and chanting in the counties where indoor worship is still
24

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 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 28 of 32 Page ID #:297




 1   allowed, albeit severely restricted. (V. Compl. ¶¶ 84–97.) Moreover, the Governor’s total

 2   worship ban includes gatherings of small groups for in-home Bible studies or worship.

 3   (V. Compl. ¶¶ 73, 94–97.) Violation of those orders is punishable by criminal citation,

 4   and Plaintiffs’ pastors can be arrested for simply gathering their congregations for

 5   worship services. (V. Compl. ¶ 74.) Yet, no such criminal sanction or punishment has

 6   been threatened against the thousands of protesters continually gathering in flagrant

 7   disregard of the Governor’s orders. (V. Compl. ¶¶ 104–118.) Such openly disparate

 8   treatment towards religious exercise constitutes official hostility towards religion in

 9   violation of the Establishment Clause.

10   III.         PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS OF
                  THEIR FREE SPEECH CLAIMS.
11
            A.    The Governor’s Orders Are Content-Based Restrictions on Speech.
12

13          “Content-based laws—those that target speech on its communicative content—are

14   presumptively unconstitutional and may be justified only if the government proves that

15   they are narrowly tailored to serve compelling government interests.” Reed v. Town of

16   Gilbert, 135 S. Ct. 2218, 2226 (2015); see also R.A.V. v. City of St. Paul, 505 U.S. 377,

17   395 (1992) (same). “Some facial distinctions based on a message are obvious, defining

18   regulated speech by particular subject matter, and others are more subtle, defining

19   regulated speech by its function or purpose. Both distinctions are drawn based on the

20   message a speaker conveys, and, therefore, are subject to strict scrutiny.” Reed, 135

21   S. Ct. at 2227 (emphasis added). Put simply, the Supreme Court handed down a firm

22   rule: laws that are content based on their face must satisfy strict scrutiny. Id.

23          Importantly, this firm rule mandating strict scrutiny of facially content-based

24   restrictions of speech applies regardless of the government’s alleged purpose in enacting

                                                22
 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 29 of 32 Page ID #:298




 1   the law, even if the alleged purpose arises from a declared emergency. See id. (“On its

 2   face, the [law] is a content-based regulation of speech. We thus have no need to

 3   consider the government’s justifications or purposes for enacting the [law] to

 4   determine whether it is subject to strict scrutiny.”).

 5        Thus, content-based laws must satisfy strict scrutiny, regardless of any purported

 6   justification the Governor may assert. Reed, 135 S. Ct. at 2229. “Because the [law]

 7   imposes content-based restrictions on speech, those provision can stand only if they

 8   survive strict scrutiny.” Id. at 2231. There are no exceptions to this rule. Indeed, the

 9   notion that a content-based restriction on speech is presumptively unconstitutional is “so

10   engrained in our First Amendment jurisprudence that last term we found it so ‘obvious’

11   as to not require explanation.” Simon & Schuster, Inc. v. Members of N.Y. State Crime

12   Victims Bd., 502 U.S. 105, 115–16 (1991). Furthermore, “[i]t is rare that a regulation

13   restricting speech because of its content will ever be permissible.” United States v.

14   Playboy Entm’t Grp., 529 U.S. 803, 818 (2000). The burden is on the Governor to prove

15   his orders satisfy strict scrutiny, and he cannot.

16        Here, it is beyond cavil that the Governor’s orders, both facially and as-applied, are

17   content based. When it comes to the thousands of protesters openly violating his orders

18   to share—shout, sing, and chant—their message, the Governor said “Thank you! God

19   bless you. Keep doing it.” (V. Compl. ¶ 104.) Yet, as the orders make plain, Plaintiffs’

20   religious worship services, consisting of singing, chanting, and preaching—all speech—

21   are completely prohibited or severely restricted. (V. Compl. ¶ 83–95.) When asked to

22   explain this unconstitutional dichotomy, the Governor merely confirmed that some

23   speech (protest) is “profound and pronounced” and must be supported and encouraged

24   (V. Compl. ¶ 105), but other forms of expression—religious preaching, singing, and

                                                  23
 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 30 of 32 Page ID #:299




 1   chanting—at Plaintiffs’ worship services is simply too dangerous to permit. (V. Compl.

 2   ¶#). The Governor’s own statements prove his orders and their application are content-

 3   based speech restrictions and must satisfy strict scrutiny.

 4        B.     The Governor’s Orders Cannot Satisfy Strict Scrutiny.
 5        As demonstrated in Part I.E, supra, the Governor’s orders cannot satisfy strict

 6   scrutiny, and are therefore unconstitutional.

 7   IV. PLAINTIFFS HAVE SUFFERED, ARE SUFFERING, AND WILL
         CONTINUE TO SUFFER IRREPARABLE INJURY ABSENT
 8       INJUNCTIVE RELIEF.
 9        “The loss of First Amendment freedoms, for even minimal periods of time,

10   unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976);

11   see also 11A Charles Alan Wright, Arthur R. Miller, & Mary Kay Kane, Federal

12   Practice & Procedure §2948.1 (2d ed. 1995) (“When an alleged constitutional right is

13   involved, most courts hold that no further showing of irreparable injury is

14   necessary.” (emphasis added)). Where, as here, Plaintiffs have made a sufficient

15   showing of likely success on the merits, “irreparable injury is presumed.” Fortuno, 699

16   F.3d at 11. Thus, demonstrating irreparable injury in this matter “is not difficult.

17   Protecting religious freedom was a vital part of our nation’s founding, and it

18   remains crucial today.” On Fire, 2020 WL 1820249, at *9 (emphasis added).

19   V.   PLAINTIFFS SATISFY                THE       OTHER        REQUIREMENTS         FOR
          INJUNCTIVE RELIEF.
20

21        A preliminary injunction enjoining enforcement of the Governor’s orders

22   prohibiting Plaintiffs’ responsibly conducted worship services will impose no harm on

23   the State, and will protect the very rights the Supreme Court has characterized as “lying

24   at the foundation of a free government of free men.” Schneider v. New Jersey, 308 U.S.

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 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 31 of 32 Page ID #:300




 1   147, 151 (1939). Indeed, the State “is in no way harmed by the issuance of an injunction

 2   that prevents the state from enforcing unconstitutional restrictions.” Legend Night Club

 3   v. Miller, 637 F.3d 291, 302–03 (4th Cir. 2011). But for Plaintiffs, as noted above, even

 4   minimal infringements upon First Amendment values constitute irreparable injury

 5   sufficient to justify injunctive relief. Id. at 302. As such, there is no comparison between

 6   the irreparable loss of First Amendment freedoms suffered by Plaintiffs here and the non-

 7   existent interest the State has in enforcing unconstitutional orders. Absent a TRO and

 8   preliminary injunction, Plaintiffs “face an impossible choice: skip [church] service[s] in

 9   violation of their sincere religious beliefs, or risk arrest, mandatory quarantine, or some

10   other enforcement action for practicing those sincere religious beliefs.” On Fire, 2020

11   WL 1820249, at *9. The balance favors injunctive relief.

12        Also, the public interest is served by a TRO and preliminary injunction.

13   “Injunctions protecting First Amendment freedoms are always in the public interest.”

14   ACLU of Ill. v. Alvarez, 679 F.3d 583, 590 (7th Cir. 2012) (emphasis added). “First

15   Amendment rights are not private rights of the appellants so much as they are rights of

16   the general public. Those guarantees [are] for the benefit of all of us.” Machesky v.

17   Bizzell, 414 F.2d 283, 288–90 (5th Cir. 1969) (cleaned up). “[T]he public has a

18   profound interest in men and women of faith worshipping together [in church] in a

19   manner consistent with their conscience.” On Fire, 2020 WL 1820249, at *9

20   (emphasis added).

21                                        CONCLUSION
22        For the foregoing reasons, the TRO and preliminary injunction should issue.

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 Case 2:20-cv-06414-JGB-KK Document 4-1 Filed 07/18/20 Page 32 of 32 Page ID #:301




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